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  AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                      UNITED STATES DISTRICT COtJ1T
                                                                    for the                                                -
                                                                                                 z    1:( 29 A
                                                          Southern District of Georgia

                    ....................................
                    United States of America
                             V.

                     Sonoko Lee Stewart ) Case No: CR407-00045-002
                                                                      ) USMNo: 13070-021
Date of Previous Judgment: July 24, 2007                              ) Brian L. Daly
(Use Date of Last Amended Judgment if Applicable)                     ) Defendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of ljthe defendant          the Director of the Bureau of Prisons   the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       UDEN I ED.       GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 112       months is reduced to          106 months
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:                    31                            Amended Offense Level:     29
Criminal History Category:                 III                           Criminal History Category: III
Previous Guideline Range:               135 to 168 months                Amended Guideline Range: 120 to 135 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
    The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
    of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
    amended guideline range.
    Other (explain): This sentence represents a 12 percent reduction below the minimum of the advisory guideline range
                      and the Court notes the original sentence represented a 17 percent reduction below the minimum of
                     the advisory guideline range.




III. ADDITIONAL COMMENTS:

Except as provided above, all provisions of the judgment dated                July 24, 2007          shall remain in effect.
IT IS SO ORDERED.

Order Date:        May 29, 2008
                                                                                               Judge's sig ure


                                                                        B. Avant Edenfield
                                                                        United States District Judge
Effective Date:                                                         For the Southern District of Georgia
                    (if different from order date)                                         Printed name and title
